                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DMSION

                                      No. 5:04-CR-314-2-F


UN~DSTATESOFAMERICA                           )
                                              )
              v.                              )                      ORDER
                                              )
CRAIG EDWARD JOHNSON,                         )
                Defendant.                    )


       This matter is before the court on the defendant's Motion for Out of Time Appeals and

Motion for the Appointment of Counsel [DE-112]. The defendant, Craig E. Johnson, moved on

July 28,2009, for a reduction in his sentence [DE-I09] pursuant to 18 U.S.C. § 3582, by virtue

of the retroactive amendment to the Sentencing Guidelines for crack cocaine. That motion was

denied by order of August 25, 2009, because Johnson, who was held responsible for more than

4500 grams of crack cocaine, was ineligible for the reduction. See [DE-ll1].

       Johnson failed to file a notice of appeal of this court's order denying a reduction in his

sentence within the time prescribed therefor by Rule 4(b)(1), FED. R. ,ApP. P. Moreover, the

period within which this court may extend the time to file a notice of appeal has expired.

See id., Rule 4(b)(4).

       This court is without authority to grant Johnson the relief he seeks. Accordingly,

both his Motion for Out of Time Appeals and his Motion for the Appointment of Counsel [DE­

112] are DENIED.

       SO ORDERED.

       This the 23rd day of June, 2010.


                                                  jiAMES C. FOX
                                                     Senior United States District Judge




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